Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 1 of 15




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                         Civil Action Number:

     JESUS GONZALEZ

            Plaintiff,
     vs.

     MARTINEZ DISTRIBUTORS CORP.
     d/b/a Martinez Distributors and
     MARTINEZ INVESTMENT GROUP LLC

            Defendants.
                                                   /

                            COMPLAINT FOR INJUNCTIVE RELIEF

            Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

     hereby sues Defendant Martinez Distributors Corp. doing business as the Martinez

     Distributors store at 7379 NW 31st Street and Defendant Martinez Investment Group LLC

     for injunctive relief pursuant to 42 U.S.C. §§12181-12189 of the Americans with

     Disabilities Act (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                           JURISDICTION

            1.      This is an action for declaratory and injunctive relief pursuant to Title III of

     the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

     vested with original jurisdiction under 28 U.S.C. §1331.

            2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

     events giving rise to this lawsuit occurred within the Southern District of Florida and the

     subject premises is located within the jurisdiction of this Court.




                                                       1
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 2 of 15




             3.      Defendants are authorized to conduct, and are conducting, business within

     the State of Florida and within the jurisdiction of this court.

                                                  PARTIES

             4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff has a

     “qualified disability” under the ADA as he is disabled with neuropathy and nerve damage

     due to radiation and utilizes a wheelchair for mobility. Plaintiff’s disability is defined in 42

     US Code §12102(1)(A), (2) and in 28 C.F.R. §36.105(b)(2) and 28 C.F.R.

     §36.105(2)(iii)(D).     Plaintiff is also a tester to determine whether public accommodations

     are in compliance with the ADA/ADAAG.

             5.      Defendant Martinez Distributors Corp. (also referenced as “Defendant

     Distributors Corp,” “operator,” or “lessee”) is a Florida for profit corporation which is a

     privately held foodservice distributor. Defendant Distributors Corp is the owner and

     operator of two1 Martinez Distributors stores including the store located at 7379 NW 31st

     Street, Miami, Florida 33135 which is the subject of this instant action.

             6.      Defendant Martinez Investment Group LLC (also referenced as “Defendant

     Investment Group,” “lessor,” or “owner”), is a Florida limited liability company which is

     the owner of real property located at 7379 NW 31st Street, Miami, Florida 33122-1240,

     more fully identified as Folio 30-3026-013-0060. Defendant’s Vista’s real property is built-

     out as a specialty food market.

                                                    FACTS




     1
      The second location is 3080 NW 784th Avenue, Miami Florida 33122, see Miami Dade personal property
     folio number 40-056569 and as identified in the website https://ww.mdist.us


                                                        2
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 3 of 15




            7.      At all times material hereto, Defendant Investment Group’s real property has

     been leased to Defendant Distributors Corp. The lessee in turn has operated its Martinez

     Distributors store within that leased space.

            8.      The Martinez Distributors store brand is a specialty food store chain with two

     locations located within the district. Martinez Distributors stores sell produce, meat,

     seafood, deli goods, dairy items and condiments. Martinez Distributors stores are places of

     public accommodation pursuant to 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5). The

     Martinez Distributors store located at 7379 NW 31st Street, Miami which is the subject of

     this complaint is also referenced as “Martinez Distributors store,” “Martinez Distributors

     store at 7379 NW 31st Street,” “specialty food store,” “store,” or “place of public

     accommodation.”

            9.      At all times material hereto, Defendant Distributors Corp was (and is) a

     company owning and operating specialty food stores under the “Martinez Distributors store”

     brand which are open to the public. Each of Defendant’s specialty food stores (including the

     Martinez Distributors store at 7379 NW 31 Street) is a place of public accommodation

     subject to the requirements of Title III of the ADA and its implementing regulation; 42

     U.S.C. §12182, §12181(7)(E) and 28 C.F.R. §36.104(5).

            10.     As the operator of specialty food stores which are open to the public,

     Defendant Distributors Corp is defined as a “Public Accommodation" within meaning of

     Title III because it is a private entity which owns, or operates a food store; 42 U.S.C.

     §12182, §12181(7)(E); 28 C.F.R. §36.104(5).

            11.     Due to the close proximity of Plaintiff’s home to the 7379 NW 31st Street

     Martinez Distributors specialty food store, on February 27, 2022 Plaintiff went to that store




                                                    3
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 4 of 15




     with the intent of purchasing groceries and testing the subject property for compliance with

     the ADA/ADAAG.

            12.     When parking within the parking lot provided for the Martinez Distributors

     store and perambulating to the store, Plaintiff encountered areas of inaccessibility which

     were/are also non-ADA compliant. Later, while shopping and testing for ADA/ADAAG

     complaince, Plaintiff went to the restroom and while in the restroom Plaintiff met multiple

     areas of inaccessibility due to the fact that he perambulates with the assistance of a

     wheelchair.

            13.     Based    on    the   access    impediments    Plaintiff   encountered   when

     patronizing/testing the Martinez Distributors store, Plaintiff has been denied full and equal

     access by the operator of the Martinez Distributors store (Defendant Distributors Corp) and

     by the owner of the commercial property which houses that store (Defendant Investment

     Group).

            14.     Defendant Distributors Corp owns and operates two Martinez Distributors

     stores; therefore, Defendant Distributors Corp is aware of the ADA and the need to provide

     for equal access in all areas of its specialty food stores. Defendant Distributors Corp’s

     failure to reasonably accommodate mobility impaired and disabled patrons by insuring that

     its Martinez Distributors store located at 7379 NW 31st Street is fully accessible is/was

     willful, malicious, and oppressive and in complete disregard for the Civil Rights of the

     Plaintiff and in violation of 28 C.F.R. §36.303.

            15.     As the owner of commercial real property which is operated as a specialty

     food store open to the public, Defendant Investment Group is also a “Public

     Accommodation” pursuant to 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(5). On




                                                   4
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 5 of 15




     information and belief, as an investor and owner of a commercial property being used as a

     public accommodation, Defendant Investment Group is aware of the ADA and the need to

     provide for equal access in all areas of its commercial property which are open to the public.

     Therefore, Defendant Investment Group’s failure to reasonably accommodate mobility

     impaired and disabled patrons by insuring that its commercial property is fully accessible

     is/was willful, malicious, and oppressive and in complete disregard for the Civil Rights of

     the Plaintiff and in violation of 28 C.F.R. §36.303.

             16.       As a result of the joint and several discrimination by Defendants, Plaintiff

     has suffered loss of dignity, mental anguish and other tangible injuries and has suffered an

     injury-in-fact.

             17.       Plaintiff continues to desire to patronize the Martinez Distributors store

     located at 7379 NW 31st Street, but continues to be injured in that he continues to be

     discriminated against due to the barriers to access within that place of public

     accommodation, all which are in violation of the ADA.

             18.       Any and all requisite notice has been provided.

             19.       Plaintiff has been obligated to retain the civil rights law office of J. Courtney

     Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

     this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

     attorney’s fees, costs and expenses from Defendants pursuant to 42 U.S.C. §12205.

                       COUNT I – VIOLATIONS OF TITLE III OF THE ADA

             20.       The ADA was enacted and effective as of July 26, 1990 and ADA legislation




                                                       5
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 6 of 15




     has been protecting disabled persons from discrimination due to disabilities since that time.

     Since 30 years have passed since enactment of the ADA, public accommodations and places

     of public accommodation have had adequate time for compliance.

             21.     Congress explicitly stated that the purpose of the ADA was to:

             (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with disabilities;
            (ii)     provide clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities; and,
            (iii)    invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in
                     order to address the major areas of discrimination faced on a daily
                     by people with disabilities.

                     42 U.S.C. §12101(b)(1)(2) and (4).

             22.     Prior to the filing of this lawsuit, Plaintiff personally visited the Martinez

     Distributors store at 7379 NW 31st Street in order to purchase groceries, however Plaintiff

     was denied adequate accommodation because, as a disabled individual who utilizes a

     wheelchair for mobility, Plaintiff met impediments to access. Therefore, Plaintiff has

     suffered an injury in fact.

             23.     Defendant Distributors Corp (operator of the Martinez Distributors store at

     7379 NW 31st Street) and Defendant Investment Group (the owner of the commercial

     property housing that store) have discriminated (and continue to discriminate) against

     Plaintiff by denying full and equal access to, and full and equal enjoyment of, goods,

     services, facilities, privileges, advantages and/or accommodations at the specialty food

     store, in derogation of 42 U.S.C. §12101 et seq., and as prohibited by 42 U.S.C. §12182 et

     seq. by failing to barriers to access pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such

     removal is readily achievable.




                                                   6
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 7 of 15




             24.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

     equal safe access to, and the benefits of, the accommodations and services offered at the

     Martinez Distributors store located at 7379 NW 31st Street.

             25.     Defendants are jointly and singularly governed by the ADA and must be in

     compliance therewith. Defendants have jointly and severally discriminated against Plaintiff,

     a disabled patron, in derogation of 28 C.F.R. Part 36.

             26.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

     amended), the Department of Justice, Office of the Attorney General, promulgated Federal

     Regulations to implement the requirements of the ADA, known as the Americans with

     Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

     which said Department may obtain civil penalties of up to $75,000 for the first violation and

     $150,000 for any subsequent violation.

             27.     The commercial space which is owned by Defendant Investment Group is

     leased to Defendant Distributors Corp who operates its Martinez Distributors store from that

     location. This commercial space is in violation of 42 U.S.C. §12181 et seq., the ADA and 28

     C.F.R. §36.302 et seq., and both the owner/lessor and the lessee are discriminating against

     the Plaintiff as a result of inter alia, the following specific violations:

       i.    As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff had difficulty

             exiting the vehicle, as the designated accessible parking space is on an excessive

             slope. The fact that the accessible parking space is on an excessive slope is a

             violation of Section 502.4 of the 2010 ADA Standards for Accessible Design which

             states that parking space changes in level are not permitted. This is also a violation




                                                      7
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 8 of 15




             of Section 4.6.3 of the ADAAG which states that parking spaces shall be level with

             surface slopes not exceeding 1:50 (2%) in all directions. Failure to provide

             accessible means of egress from the parking area to the Martinez Distributors store

             due to the excessive slope of the accessible parking space is a violation of 2010

             ADA Standards for Accessible Design Sections 207.1, 502.4 and ADAAG Section

             403.3. Section 403.3 states that the running slope of walking surfaces shall not be

             steeper than 1:20 and the cross slope shall not be steeper than 1:48 and Section 403.4

             which requires change in slope to comply with Section 303, wherein Section 303.4

             requires changes in level greater than ½ inch shall be ramped.

       ii.   As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff had difficulty

             exiting his vehicle and perambulating to the Martinez Distributors store because the

             accessible parking space does not have an access isle to allow for Plaintiff’s

             wheelchair. This is a violation of Section 4.6.3 of the ADAAG and Section 502.3 of

             the 2010 ADA Standards for Accessible Design which states that access aisles

             serving parking spaces shall comply with Figure 502.3 and have a width of 60 inches

             minimum (Section 502.3.1), shall extend the full length of the parking space

             (Section 502.3.2), shall be marked to discourage parking (Section 502.3.3), and shall

             not overlap (Section 502.3.4).

      iii.   As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), the accessible parking

             space does not have an access isle that is marked which is in violation of Section

             502.3.3 which states that access isles shall be marked (to discourage use as




                                                   8
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 9 of 15




            additional parking spaces). Advisory 502.3.3 does not specify method and color of

            marking, and leaves this to State or local laws and regulations. Florida State FBC Fig

            9, FDOT Index #17346 states that markings are to be blue and white and that the

            space between the blue and white line is 2" and that the access aisle is to be

            measured from the centerline of the white lines. In this instant case, there is no

            adequate marking of access isles at the accessible parking space.

      iv.   As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

            Group (owner/lessor of the property) (jointly and severally), the parking lot does not

            provide compliant directional and informational signage to a compliant accessible

            parking space which is a violation of Section 4.6.4 of the ADAAG and Section 216.5

            of the 2010 ADA Standards for Accessible Design. Section 4.6.4 states that

            accessible parking spaces must be designated as reserved by a sign showing the

            symbol of accessibility (pursuant to Section 4.30.7), and that the sign must be

            located so that it cannot be obscured by a vehicle parked in that accessible space.

            Section 216.5 states that accessible parking spaces must be identified by signs

            complying with Section 502.6 which stats that the international symbol of

            accessibility must identify accessible parking spaces.

      v.    As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

            Group (owner/lessor of the property) (jointly and severally), Plaintiff could not enter

            the accessible stall area without assistance, as the required maneuvering clearance on

            the pull side of the door is not provided. This is a violation of Section 4.13.6 of the

            ADAAG and Section 404.2.4 of the 2010 ADA Standards for Accessible Design.

            Section 4.13.6 states that the minimum maneuvering clearances for doors be within




                                                   9
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 10 of 15




             specifications shown in Fig. 25 and that the ground floor within the required

             clearance be level and clear. The clear maneuvering clearance for a front approach

             must be 48 min (and for side approach, 54 by 42 min), which not attained in the

             instant case.

      vi.    As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff could not use

             the coat hook without assistance, as it is not mounted at the required location. This is

             a violation of Section 4.2.5 of the ADAAG which states that the (unobstructed)

             maximum high forward reach allowed shall be 48 in (1220 mm) (as depicted at Fig.

             5 (a)), and the minimum low forward reach shall be 15 in (380 mm). This is also a

             violation of Section 308.2.1 of the 2010 ADA Standards for Accessible Design,

             which states that, where a forward reach is unobstructed, the high forward reach

             shall be 48 inches (1220 mm) maximum and the low forward reach shall be 15

             inches (380 mm) minimum above the finished floor or ground.

      vii.   As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff had difficulty

             closing the stall door, as the toilet compartment stall door is missing pull handles on

             both sides of the door near the latch. This is in violation of Sections 4.27.4 of the

             ADAAG which states that controls and operating mechanisms shall be operable with

             one hand and shall not require tight grasping, pinching, or twisting of the wrist. The

             forces required to activate controls shall be no greater than 5 lb. (22.2 N). This is

             also a violation Section 604.8.1.2 of the 2010 ADA Standards for Accessible Design

             which states that toilet compartment doors, including door hardware, shall comply




                                                   10
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 11 of 15




             with Section 404; specifically, Sections 404.2.7 and 309.4: “operable parts of such

             hardware shall be 34 inches (865 mm) minimum and 48 inches (1220 mm)

             maximum above the finished floor or ground.”

     viii.   As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff could not use

             the toilet paper dispenser without assistance, as the toilet paper dispenser is not in

             the proper position or at the correct height above the finished floor, in violation of

             Section 4.16.6 and Fig. 29 of the ADAAG and Section 604 of the 2010 Standards for

             Accessible Design. Section 4.16.6 states that toilet paper dispensers shall be installed

             within reach, as shown in Fig. 29(b). Section 604.7 states that toilet paper dispensers

             shall comply with Section 309.4 and shall be 7 inches (180 cm) minimum and 9

             inches (230 cm) maximum in front of the water closet measured to the centerline of

             the dispenser. Further, the outlet of the dispenser shall be 15 inches (380 mm)

             minimum and 48 inches (1220 mm) maximum above the finish floor and shall not be

             located behind grab bars.

      ix.    As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff could not

             transfer to the toilet without assistance, as the required maneuvering clearance was

             not provided due to the encroaching item (trash can) which encroaches over the

             accessible water closet clear floor space. This is a violation of Section 4.16.2 of the

             ADAAG (which specifies the amount of space required at an accessible toilet, which

             includes clear floor space around fixtures) and Section 604.3.1 of the 2010 ADA

             Standards for Accessible Design which states that water closet clearance shall be 60




                                                   11
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 12 of 15




             inches (1525 mm) minimum measured perpendicular from the side wall and 56

             inches (1420 mm) minimum measured perpendicular from the rear wall).

       x.    As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff could not

             transfer to the toilet without assistance, as the side wall grab bar is not in the

             required location from the rear wall. This is a violation of Section 4.16.4 and Figure

             29 of the ADAAG and Section 604.5.1 of the 2010 ADA Standards for Accessible

             Design which states that the side wall grab bar shall be 42 inches (1065 mm) long

             minimum and located 12 inches (305 mm) maximum from the rear wall and

             extending 54 inches (1370 mm) minimum from the rear wall.

      xi.    As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff could not

             transfer to the toilet without assistance, as the rear wall grab bar does not have the

             required clearance due to the rear grab bar being placed too close to the toilet water

             tank. The fact that the rear grab bar mounted is too close to the toilet water tank is a

             violation of Section 609.3 of the 2010 ADA Standards for Accessible Design which

             states that the space between the wall and the grab bar shall be 1½ inches (38 mm)

             and the space between the grab bar and projecting objects below and at the ends

             shall be 1½ inches (38 mm) minimum. This is also a violation of Section 4.26 which

             states that handrails must be accessible and is in violation of Section 4.26.2 Fig. 39

             which delineates clearance under a grab bar must be 1¼ to 1 ½ inches (32 - 38 cm).

      xii.   As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff could not use




                                                   12
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 13 of 15




             the lavatory mirror without assistance, as the lavatory mirror is mounted too high, in

             violation of Section 213.3.5 of 28 C.F.R. Part 36, Section 4.19.6 of the ADAAG and

             Section 603.3 of the 2010 ADA Standards for Accessible Design which states that

             mirrors located above lavatories or countertops shall be installed with the bottom

             edge of the reflecting surface 40 inches (1015 mm) maximum above the finished

             floor or ground and mirrors not located above lavatories or countertops shall be

             installed with the bottom edge of the reflecting surface 35 inches (890 mm)

             maximum above the finished floor or ground.

     xiii.   As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff was exposed to

             a cutting/burning hazard because the lavatory pipes and water supply lines under the

             sink are not wrapped, therefore there is no proper insulation protecting users of that

             sink against the plumbing pipes under the sink. This is a violation of Section 4.19.4

             of the ADAAG which states that hot water and drain pipes under lavatories shall be

             insulated or otherwise configured to protect against contact. This is also a violation

             of Section 606.5 of the 2010 ADA Standards for Accessible Design, because the

             lavatory pipes are not wrapped.

     xiv.    As to Defendant Distributors Corp (lessee/operator) and Defendant Investment

             Group (owner/lessor of the property) (jointly and severally), Plaintiff could not use

             the hand dryer without assistance as the hand dryer is mounted in violation of

             ADAAG Section 4.2.5 which states that, if the clear floor space only allows forward

             approach to an object, the maximum high forward reach allowed shall be 48 in (1220

             mm) (as in Fig. 5(a)) and the minimum low forward reach is 15 in (380 mm). If the




                                                   13
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 14 of 15




            high forward reach is over an obstruction, reach and clearances must comply with in

            Fig. 5(b), which is not attained in this instant case. This is also a violation 2010

            ADAAG Standards for Accessible Design Section 308.2.1, which states that the

            accessible height for a forward reach dispenser shall be 48 inches maximum and the

            low forward reach shall be 15 inches minimum above the finish floor or ground and

            308.2.2 states that where there is obstructed forward reach (when reach depth

            exceeds 20 inches), the high forward reach shall be 44 inches maximum and the

            reach depth shall be 25 inches maximum.

            28.     Pursuant to 42 U.S.C. §12101et seq., and 28 C.F.R. §36.304, the Defendants

     are required to make the subject Martinez Distributors store accessible to persons with

     disabilities since January 28, 1992. Defendants have jointly and severally failed to comply

     with this mandate.

            29.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

     Plaintiff injunctive relief, including an order to alter the commercial property and the

     specialty food store therein such that it is made readily accessible to, and useable by,

     individuals with disabilities to the extent required by the ADA.

            WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against

     Defendant Martinez Investment Group LLC (owner of the commercial property operated as

     a Martinez Distributors store) and Defendant Martinez Distributors Corp. (operator of that

     store) and requests the following relief:

               a)         The Court declare that Defendants have violated the ADA;

               b)         The Court enter an Order directing Defendants to evaluate and neutralize

               their policies, practices and procedures toward persons with disabilities,




                                                   14
Case 1:22-cv-20958-DPG Document 1 Entered on FLSD Docket 03/30/2022 Page 15 of 15




               c)       The Court enter an Order requiring Defendants to alter the commercial

               property and Martinez Distributors store located at 7379 NW 31st Street such that

               it becomes accessible to and usable by individuals with disabilities to the full

               extent required by the Title III of the ADA;

               d)       The Court award reasonable costs and attorneys fees; and

               e)       The Court award any and all other relief that may be necessary and

               appropriate.

     Dated this 30th day of March 2022.

                                                 Respectfully submitted,

                                                 /s/ J. Courtney Cunningham
                                                 J. Courtney Cunningham, Esq.
                                                 J. COURTNEY CUNNINGHAM, PLLC
                                                 FBN: 628166
                                                 8950 SW 74th Court, Suite 2201
                                                 Miami, Florida 33156
                                                 Telephone: 305-351-2014
                                                 Email: cc@cunninghampllc.com
                                                 Counsel for Plaintiff




                                                  15
